          Entered on Docket March 30, 2021

                                                   Below is the Order of the Court.


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 2                                                 Mary Jo Heston
                                                   U.S. Bankruptcy Judge
 3                                                 (Dated as of Entered on Docket date above)


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 8
                            UNITED STATES BANKRUPTCY COURT
 9
                        WESTERN DISTRICT OF WASHINGTON AT TACOMA

10     In re:
                                                                         Bk. No. 19-42890
11     SARAH HOOVER,

12                                Debtor.

13     SARAH HOOVER,                                                Adversary No. 20-04002
14
                                  Plaintiff,
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                                                         ORDER DENYING MOTION TO STAY
                v.                                      PROCEEDINGS PENDING APPEAL AND
16                                                          ORDERING OTHER RELIEF
       QUALITY LOAN SERVICE CORPORATION
17     OF WASHINGTON; PHH MORTGAGE
       CORPORATION D/B/A PHH MORTGAGE
18     SERVICES; HSBC BANK USA, N.A., AS
       TRUSTEE OF THE FIELDSTONE
19     MORTGAGE INVESTMENT TRUST,
       SERIES 2006-2; NEWREZ, LLC; AND IH6
20
       PROPERTY WASHINGTON, L.P. D/B/A
       INVITATION HOMES,
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22                                Defendants.

23          This matter came before the Court on the Defendant PHH Mortgage Corporation’s,

24   HSBC Bank USA, N.A.’s, and New Rez, LLC’s (collectively “PHH”) motion seeking a stay of all

25   proceedings in this case pending appeal and the resolution of a discovery dispute over punitive

     ORDER DENYING MOTION TO STAY
     PROCEEDINGS PENDING APPEAL
     AND ORDERING OTHER RELIEF- 1
      Case 20-04002-MJH Doc 110 Filed 03/30/21             Ent. 03/30/21 11:06:04           Pg. 1 of 2
     damages between PHH and the Plaintiff, Ms. Hoover. ECF Nos. 95, 97 (the “PHH Motion”).
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     This Court issued an oral ruling on the PHH Motion on March 29, 2021, at a 1:00 PM hearing
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 3   held telephonically. Based on this Court’s March 29, 2021 oral findings and conclusions of law

 4   that are incorporated under Fed. R. Bankr. P. 7052, the Court hereby

 5             ORDERS that PHH’s motion for stay pending appeal, ECF Nos. 95, 97, is DENIED; it

 6   further
 7             ORDERS that discovery on the damages against PHH for willful violation of the
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     automatic stay under § 362(k) is suspended and the scheduled June 2, 2021 trial is stricken
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     and will be rescheduled as needed; it further
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               ORDERS that adjudication of whether IH6 willfully violated the automatic stay is
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     suspended; it further
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               ORDERS that a status conference will be held on April 20, 2021, at 2:30 PM to ensure
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     that the Order has been fully complied with regarding undoing the void Sale and returning the
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     Bonney Lake Property title to the Suleiman Trust.

16                                          / / / End of Order / / /

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     ORDER DENYING MOTION TO STAY
     PROCEEDINGS PENDING APPEAL
     AND ORDERING OTHER RELIEF- 2
      Case 20-04002-MJH Doc 110 Filed 03/30/21               Ent. 03/30/21 11:06:04   Pg. 2 of 2
